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                             UNITED STATES DISTRICT COURT

                                  DISTRICT OF MINNESOTA


MINNESOTA LIFE INSURANCE COMPANY,                        CIVIL NO. 22-CV-2718 (MJD/TNL)

                    PLAINTIFF,

V.                                                                     ORDER

MATTHEW F. STRONG AND STRONG
FINANCIAL SOLUTIONS, INC.,

                   DEFENDANTS.


TO:     Plaintiff and Plaintiff’s attorney George E. Warner, Jr., Warner Law, LLC, 1515
        Canadian Pacific Plaza, 120 South Sixth Street, Minneapolis, MN 55402.

        Defendants and Defendants’ attorneys David A. Davenport, BC Davenport, LLC, 105 5th
        Avenue South, Suite 375, Minneapolis, MN 55401; and Michael Smith, Law Office of
        Michael D. Smith, P.C., 724 Indian Road, Glenview, IL 60025.


        On November 17, 2022, a Motion to Dismiss (ECF No. 10) was filed in this matter.

IT IS HEREBY ORDERED:

     1. Within 30 days of the motion being decided, Plaintiff shall contact the chambers of
        Magistrate Judge Tony Leung, by letter or e-mail, for the purpose of scheduling the pretrial
        conference.

     2. Failure to comply with this Order or any other prior consistent Order shall subject the non-
        complying party, non-complying counsel and/or the party such counsel represents to any
        and all appropriate remedies, sanctions and the like, including without limitation:
        assessment of costs, fines and attorneys’ fees and disbursements; waiver of rights to object;
        exclusion or limitation of witnesses, testimony, exhibits and other evidence; striking of
        pleadings; complete or partial dismissal with prejudice; entry of whole or partial default
        judgment; and/or any other relief that this Court may from time to time deem appropriate.



Dated: November 21, 2022
                                                             s/Tony N. Leung
                                                      Magistrate Judge Tony N. Leung
                                                      United States District Court
